Case 2:18-cv-02174-JFW-GJS Document 12 Filed 03/21/18 Page 1 of 3 Page ID #:300




   1   CHRISTOPHER WALDON (SBN 310179)
       Christopher.Waldon@leclairryan.com
   2   PATRICIA L. PEDEN (SBN 206440)
       Patricia.peden@leclairryan.com
   3   LECLAIRRYAN, LLP
       44 Montgomery Street, Suite 3100
   4   San Francisco, California 94104
       Telephone: (415) 913-4912
   5   Telefax: (415) 391-8766
   6   Attorneys for Petitioners
   7   LIU LUWEI and LV DEZHENG

   8
                            UNITED STATES DISTRICT COURT
   9      CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  10

  11

  12   LIU LUWEI, an individual, and LV            Case No.: 18-cv-02174-JFW-GJS
       DEZHENG, an individual,
  13                                               DECLARATION OF LEAD
                      Petitioners,                 TRIAL COUNSEL RE:
  14                                               COMPLIANCE WITH LOCAL
             v.                                    RULES GOVERNING
  15                                               ELECTRONIC FILING
       PHYTO TECH CORP., a California
  16   corporation,

  17
                      Respondents.
  18
  19
       I, Christopher J.C. Waldon, declare and stat as follows:
  20

  21      1. I am an attorney at law licensed to practice before this Court and Counsel

  22         at the law firm of LeClairRyan, LLP
  23
          2. In my capacity as Counsel, I am lead trial counsel assigned to represent
  24

  25         Liu Luwei and Lv Dezheng in the above-entitled matter.

  26      3. I am registered as an “ECF User” with the district of the above-entitled
  27
             Court.
  28
                                                              Case No. 18-CV-02174-JFW-GJS
                                            1             DECLARATION OF LEAD COUNSEL
Case 2:18-cv-02174-JFW-GJS Document 12 Filed 03/21/18 Page 2 of 3 Page ID #:301




   1
          4. My email address of record is Christopher.waldon@leclairryan.com.

   2      5. I consent to service and receipt of filed documents by electronic means.
   3
             I declare under penalty of perjury under the laws of the State of California
   4

   5   and the United States of America that the foregoing is true and correct. If called

   6   on to testify to the foregoing, I would and could competently testify thereto.
   7
             Executed this 21st day of March 20218, at San Francisco, California.
   8

   9
                                           Respectfully Submitted,
  10

  11   DATED: March 21, 2018                LECLAIRRYAN, LLP
  12

  13                                        By:
  14                                               Christopher Waldon, Esq.

  15                                               Attorney for Petitioners
                                                   LIU LUWEI and LV DEZHENG
  16

  17

  18
  19

  20

  21

  22

  23

  24

  25

  26
  27

  28
                                                               Case No. 18-CV-02174-JFW-GJS
                                             2             DECLARATION OF LEAD COUNSEL
Case 2:18-cv-02174-JFW-GJS Document 12 Filed 03/21/18 Page 3 of 3 Page ID #:302




   1                             PROOF OF SERVICE
   2         I, the undersigned, declare that I am over the age of 18 and am not a party
   3   to this action. I am employed in the City of San Francisco, California; my
   4   business address is LeClairRyan, LLP, 44 Montgomery Street, Suite 3100, San
   5   Francisco, CA 94104.
   6         On this 21st day of March 2018, I served. Declaration of Lead Trial
   7   Counsel re: Compliance with Local Rules Governing Electronic Filing on
   8   the person or entity named below enclosing a copy in an envelope addressed as
   9   shown below and placing the envelope for collection and mailing on the date
  10   and at the place shown below following our ordinary office practices. I am
  11   readily familiar with the practice of this office for collection and processing
  12   correspondence for first class mailing. On the same day the correspondence is
  13   placed for collection and mailing it is deposited in the ordinary course of the
  14   business with the United States Postal Service in a sealed envelope with postage
  15   fully prepaid.
  16         Date of mailing March 21, 2018, Place of mailing: San Francisco, CA.
  17         Person(s) and/or Entity(s) to whom mailed:
  18
                    Phyto Tech Corp.
  19                c/o Joan Chen
  20                30111 Tomas
                    Rancho Santa Margarita, CA 92688
  21

  22         I declare under penalty of perjury under the laws of the United States of
  23
       America that the foregoing is true and correct.
  24

  25         Executed on May 21, 2018, San Francisco, California

  26                                                     /s/ Adriana L. Lawrence
  27                                                         Adriana L. Lawrence

  28
                                                                  Case No. 18-CV-02174-JFW-GJS
                                                                            PROOF OF SERVICE
